           Case 2:05-cr-00083-WBS Document 44 Filed 05/20/05 Page 1 of 3


1    QUIN DENVIR, Bar #49374
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     RYAN LEWIS
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. CR. S-05-0083 EJG
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )
16   RYAN LEWIS,                     )
     EVA HOLLAND,                    )     Date: May 20, 2005
17   LILI HOLLAND, and               )     Time: 10:00 a.m.
     JEREMIAH COLCLEASURE,           )     Judge: Hon. Edward J. Garcia
18                                   )
                    Defendants.      )                      C/EJG
19                                   )
     _______________________________ )
20
21        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of America, and all defendants, through their respective attorneys, that
23   the status conference scheduled for May 20, 2005, may be continued to
24   July 15, 2005, at 10:00 a.m.
25        Defense counsel and their clients continue to review discovery as it
26   is released to them.     All parties are considering or investigating a
27   number of factual and legal issues and agree that additional time is
28   necessary before the case may be resolved or trial scheduled.         So that
             Case 2:05-cr-00083-WBS Document 44 Filed 05/20/05 Page 2 of 3


1    these tasks may be completed, the parties agree that the ends of justice
2    to be served by a continuance outweigh the best interests of the public
3    and the defendant in a speedy trial and that time under the Speedy Trial
4    Act may be excluded from the date of this Order through July 15, 2005,
5    pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv)(Local Code T4).
6                                             Respectfully submitted,
7                                             QUIN DENVIR
                                              Federal Defender
8
9    Dated: May 18, 2005                      /s/ Tim Zindel
                                              TIMOTHY ZINDEL
10                                            Attorney for RYAN LEWIS
11   Dated: May 18, 2005                      /s/ Kevin Clymo
                                              KEVIN CLYMO
12                                            Attorney for EVA HOLLAND
13   Dated: May 18, 2005                      /s/ Joseph Wiseman
                                              JOSEPH WISEMAN
14                                            Attorney for LILI HOLLAND
15   Dated: May 18, 2005                      /s/ Scott Tedmon
                                              SCOTT TEDMON
16                                            Attorney for JEREMIAH COLCLEASURE
17                                            McGREGOR SCOTT
                                              United States Attorney
18
19   Dated: May 18, 2005                      /s/ Steve Lapham
                                              R. STEVEN LAPHAM
20                                            Assistant U.S. Attorney
21   /////
22   /////
23   /////
24   /////
25   /////
26   /////
27   /////
28   /////


     Stip. in U.S.A. v. Lewis et al.          2
            Case 2:05-cr-00083-WBS Document 44 Filed 05/20/05 Page 3 of 3


1                                       O R D E R
2
3          The status conference is continued to July 15, 2005, at 10:00 a.m.
4    and time under the Speedy Trial Act is excluded through that date for the
5    reasons set forth above and by agreement of the parties.
6          IT IS SO ORDERED.
7
8    Dated: May 18, 2005
9                                            /s/ Edward J. Garcia
                                             HON. EDWARD J. GARCIA
10                                           United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Stip. in U.S.A. v. Lewis et al.         3
